                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

BOAZ PLEASANT-BEY,                             )
                                               )
         Plaintiff,                            )
                                               )
v.                                             )       Civil Action Number 3:19-CV-486
                                               )       District Judge Aleta A. Trauger
STATE OF TENNESSEE,                            )       Jury Demand
TENNESSEE DEPARTMENT                           )
OF CORRECTIONS, REVEREND                       )
BRIAN DARNELL, TONY                            )
PARKER, CORECIVIC, INC.,                       )
JON SHONEBARGER, TOM SIMIC,                    )
and RUSSELL WASHBURN,                          )
                                               )
         Defendants.                           )


                      SECOND SUPPLEMENTAL INITIAL DISCLOSURES


         Defendants CoreCivic, Inc. (“CoreCivic”), Jon Shonebarger (“Shonebarger”), and Russell

Washburn (“Washburn”) submit their initial disclosures in compliance with Federal Rule of Civil

Procedure 26(a)(1)(A).

         I.     Federal Rule of Civil Procedure 26(a)(1)(A)(i): The name and, if known, the
                address and telephone number of each individual likely to have discoverable
                information -- along with the subjects of that information -- that the disclosing party
                may use to support its claims or defenses, unless the use would be solely for
                impeachment.

                A.      Raymond Byrd has knowledge regarding Plaintiff Boaz Pleasant-Bey’s
                        (“Pleasant-Bey”) incarceration at the Trousdale Turner Correctional Center
                        (“Trousdale”), the customs, policies, education, and training at Trousdale,
                        and the allegations in this lawsuit and may be contacted through the
                        undersigned counsel.

                B.      Emari Dawson has knowledge regarding Pleasant-Bey’s incarceration at
                        Trousdale, the customs, policies, education, and training at Trousdale, and
                        the allegations in this lawsuit, and may be contacted through the
                        undersigned counsel.

                C.      Martin Frink has knowledge regarding Pleasant-Bey’s incarceration at
                        Trousdale, the customs, policies, education, and training at Trousdale, and
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                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              D.   Donnelle Harris has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              E.   Scottie Hudson has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit, and may be contacted through the
                   undersigned counsel.

              F.   Daniel Knight has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit, and may be contacted through the
                   undersigned counsel.

              G.   Rodney McCloud has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              H.   Jacqueline Norman has knowledge regarding Pleasant-Bey’s incarceration
                   at Trousdale, the customs, policies, education, and training at Trousdale,
                   and the allegations in this lawsuit and may be contacted through the
                   undersigned counsel.

              I.   Yolanda Pittman has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              J.   Shonebarger has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              K.   Tom Simic has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.

              L.   Vincent Vantell has knowledge regarding Pleasant-Bey’s incarceration at
                   Trousdale, the customs, policies, education, and training at Trousdale, and
                   the allegations in this lawsuit and may be contacted through the undersigned
                   counsel.


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               M.     Russell Washburn has knowledge regarding Pleasant-Bey’s incarceration at
                      Trousdale, the customs, policies, education, and training at Trousdale, and
                      the allegations in this lawsuit and may be contacted through the undersigned
                      counsel.

               N.     Brandon Watwood has knowledge regarding Pleasant-Bey’s incarceration
                      at Trousdale, the customs, policies, education, and training at Trousdale,
                      and the allegations in this lawsuit and may be contacted through the
                      undersigned counsel.

               O.     Agents and employees of CoreCivic identified in documents regarding
                      Pleasant-Bey may have knowledge regarding Pleasant-Bey’s incarceration
                      at Trousdale, the customs, policies, education, and training at Trousdale,
                      and the allegations in this lawsuit and may be contacted through the
                      undersigned counsel.

               P.     Defendants may rely on individuals who have been deposed in this matter
                      who have not specifically been identified, including Chris Brun, Vincent
                      Finamore, Robert Hill, Tony Parker, Jon Walton, and Kelly Young.

               Q.     Defendants may rely upon individuals identified in documents produced or
                      subpoenaed in this litigation along with individuals identified by Pleasant-
                      Bey, on the one hand, and the State of Tennessee, the Tennessee Department
                      of Correction (“TDOC”), Reverend Brian Darnell, and Tony Parker (the
                      “State Defendants”), on the other hand, in this lawsuit.

         II.   Rule 26(a)(1)(A)(ii): A copy of -- or a description by category and location -- of
               all documents, electronically-stored information, and tangible things that the
               disclosing party has in its possession, custody, or control and may use to support
               its claims or defenses, unless the use would be solely for impeachment.

               A.     CoreCivic Corporate and Facility Policies

               B.     Trousdale Inmate Handbook

               C.     Agreements Between CoreCivic and Trinity Services I, LLC

               D.     American Correctional Association (“ACA”) Accreditation Report

               E.     Prison Rape Elimination Act (“PREA”) Compliance Report

               F.     TDOC Ramadan Memos

               G.     Volunteer Recruitment Communications

               H.     Pleasant-Bey Grievances

               I.     Pleasant-Bey Religious Accommodation Requests and Responses
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                J.     Pleasant-Bey Institutional File

                K.     Pleasant-Bey Medical Records

                L.     Communications and Memos on Pleasant-Bey’s Religious Requests and on
                       Facility Religious Accommodations, Meals, Requests, and Services

                M.     Trousdale Daily Shift Rosters

                N.     Trousdale Staffing Patterns

                O.     Documents that Demonstrate CoreCivic’s Efforts to Hire Additional Staff
                       and to Retain Staff and Documents Showing Staffing Levels

                P.     To the Extent Needed, Documents Regarding Allegations of Violent
                       Incidents that Pleasant-Bey May Raise

                Q.     TDOC Use of Force Reports and Other Documents that Show Comparisons
                       of Incidents at Facilities Across the State

                R.     Audit Documents of the Facility, Including from the TDOC and the ACA
                       and Regarding PREA Incidents

                S.     TDOC Contract Monitor Reports and CoreCivic’s Responses

                T.     Comptroller Meeting Minutes, Including from November 26, 2018

                U.     Documents Produced by CoreCivic, Shonebarger, and/or Washburn

                V.     Documents Produced by Pleasant-Bey and/or the State Defendants

         III.   Rule 26(a)(1)(A)(iii): A computation of any category of damages claimed by the
                disclosing party -- who must also make available for inspection and copying as
                under Rule 34 the documents or other evidentiary materials, unless privileged or
                protected from disclosure, on which each computation is based, including materials
                bearing on the nature and extent of injuries suffered.

                A.     This is not applicable to CoreCivic.

         IV.    Rule 26(a)(1)(A)(iv): For inspection and copying as under Rule 34 any insurance
                agreement under which an insurance business may be liable to satisfy all or part of
                a possible judgment in the action or to indemnify or reimburse for payments made
                to satisfy the judgment.

                A.     Based upon the relief sought, CoreCivic does not believe that this is
                       applicable to CoreCivic.


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                                                       Respectfully submitted,




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                                                       Counsel for Defendants CoreCivic,
                                                       Inc., Jon Shonebarger, and Russell
                                                       Washburn

                                CERTIFICATE OF SERVICE

        I certify that a true and exact copy of the foregoing has been served via U. S. Mail, first-
class postage prepaid, this November 9, 2021, on the following:

 Tricia Herzfeld                                     Eric Fuller
 Branstetter, Stranch & Jennings, PLLC               Nikki N. Hashemian
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